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VIA ECF

Honorable J. Paul Oetken
Thurgood Marshall
United States Coulthouse
40 Foley Square

New York, NY 10007

Re: Silvercreek Managemeut, Inc., er a!. v. Cr`tr`group, Inc., et al.,
Case No. 02-CV-08881-JPO

Dear Judge Oetken‘.

We represent Plaintiffs in the above captioned matter, and submit this letter on behalf of
Plaintit`fs with the concurrence of Defendant Jeffrey Skilling. We are pleased to inform the
Court that Plaintiffs and Defendant Skilling have reached an agreement-in-principle to settle the
remaining claims in this action, subject to appropriate documentation Plaintiffs will tile a
Fed.R.Civ.P. 41(a)(1)(A)(ii) stipulation Voluntarily dismissing Defendant Skilling as soon as the
settlement documentation has been completed.

Respectfully submitted,

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Eugene J. rett

cc: Cocmsel ofRecord (via ECF)

